            Case 1:06-vv-00710-UNJ Document 183 Filed 02/13/15 Page 1 of 2




      In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 06-710V
                                      Filed: January 23, 2015

***************************                            UNPUBLISHED
JUANITA COLEMAN,                                *
                                                *      Special Master Hamilton-Fieldman
                        Petitioner,             *
v.                                              *      Attorneys’ Fees and Costs; Reasonable Amount
                                                *      Requested to which Respondent Does Not
SECRETARY OF HEALTH                             *      Object.
AND HUMAN SERVICES,                             *
                                                *
                        Respondent.             *
***************************
William Dobreff, Dobreff & Dobreff, Clinton Township, MI, for Petitioner.
Althea Davis, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION 1

         On October 12, 2006, Juanita Coleman filed a petition for compensation under the National
Vaccine Injury Compensation Program (“the Program”), 42 U.S.C. §300aa-10, et seq. (2006), 2 alleging
that she suffered a skin reaction after receiving a Hepatitis B vaccination on October 20, 2003. On
January 13, 2014, the undersigned issued a decision awarding compensation to Petitioner. Judgment
entered on the decision on February 24, 2014.

         On September 23, 2014, Petitioner’s counsel filed a Motion to Allow Filing of Fee Petition Out
of Time. Having requested that the undersigned entertain a late motion for fees, see Vaccine Rule 13
(requiring that fees applications be filed within 180 days of judgment), Petitioner’s counsel states that he
and Respondent’s counsel have agreed to an award of attorneys’ fees and costs in the amount of
$47,500.00.




        1
          The undersigned intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107 347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to file a motion for redaction “of any information furnished by
that party (1) that is trade secret or commercial or financial information and is privileged or confidential,
or (2) that are medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” In the absence of such motion, the entire decision will be available to
the public. Id.
        2
         The National Vaccine Injury Compensation Program comprises Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42
U.S.C. §§ 300aa-10 et seq. (2006).


                                                      1
            Case 1:06-vv-00710-UNJ Document 183 Filed 02/13/15 Page 2 of 2



        On October 22, 2014, Respondent filed a response to Petitioner’s motion. Respondent “defers to
the special master’s discretion” in granting Petitioner’s counsel’s motion for leave to file out of time.
Respondent states that she does not object to an award of $47,500.00 in attorneys’ fees and costs.

       On January 21, 2015, Petitioner filed a statement in accordance with General Order Number 9.
According to her statement, Petitioner did not incur any expenses in filing and pursuing her vaccine
claim.

          The undersigned grants Petitioner’s counsel leave to file his motion out of time, and finds that
this petition was brought in good faith and that there existed a reasonable basis for the claim. Therefore,
an award for fees and costs is appropriate, pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the
proposed amount seems reasonable and appropriate. Accordingly, the undersigned hereby awards the
amount of $47,500.00, in the form of a check made payable jointly to Petitioner and Petitioner’s
counsel, William Dobreff, of the law firm of Dobreff & Dobreff.

      In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the court
SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.



                                                                  /s/ Lisa D. Hamilton-Fieldman
                                                                  Lisa D. Hamilton-Fieldman
                                                                  Special Master




        3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                     2
